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CO IN THE CIRCUIT CoURT oF HICKMAN COUNTY, TENN sane 9 _ y
AT CENTERVILLE ‘ *~

 

 

 

DORATHEA RYE, RICKEY RYE, ) JU 2j1
SANTANA SMITH, ) ~g é©
and CARL SMOTHERMAN, ) f ' ""`
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v ) DOCKET NO:
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CANDELARIO CASTILLO, and ) 12 PERSON JURY DEMANI)
SPIRIT TRUCK LINES, INC., ) PUNITIVE DAMAGES SOUGHT
Defendants, )

COMPLAINT FOR HARMS AND LOSSES AND PUNITIVE DAMAGES

Dorathea Rye, Rickey Rye, Santana Smith and Carl Srnotherman bring this cause of
action and Would show unto the Court as folloWs:

PUNITIVE DAMGES ARE APPROPRIATE AND NECESSARY

l. Defendant Candelario Castillo is a dangerous, law breaking truck driver, the Worst
kind that is feared by the communities he travels through

2. Defendant Spirit Truck Lines, lnc. is a dangerous, law breaking trucking
company, the Worst kind that places money and profits over the safety of the communities its
trucks travels through.

3. Upon information and belief, and after investigation, at the time of this crash,
Defendant Castillo Was driving With two active log books, used in a common trucking industry
Scherne to manipulate and intentionally break federal maximum hours of Service laws designed
to avoid driver fatigue and protect innocent, hard-Working families in the communities the trucks

travel through.

Case 1:16-Cv-00061 Document 1-1 Filed 07/29/16 Page 1 of 13 Page|D #: 5

4. Upon information and belief, Defendant Spirit encourages its drivers to
participate in the two log book scheme to break federal service hour laws so that the drivers
cover more miles and the company makes more money.

5. Spirit drivers have had twenty (20) crashes in the last two (2) years.

6. Spirit drivers have been cited 66 times in the last two years for hours of service
violations This shows a common scheme and design by Spirit to actively encourage and violate
federal hours of service laws.

7. Both Defendants are guilty of the most reckless and reputable behavior, gross
negligence, intentional Wrongdoing and rule breaking to justify significant punitive damages

8. For the health and safety of innocent people everywhere, Defendant Castillo
should be banned from ever driving a federal motor vehicle again.

9. For the health and safety of innocent people everywhere, Defendant Spirit should
be put out of business

PARTIES
10. Dorathea Rye and Rickey Rye are citizens and residents of Dickson County,

Tennessee. They are married to each other.

11. Santana Smith is a citizen and resident of Dickson County, Tennessee.
12. Carl Srnotherrnan is a citizen and resident of Williarnson County, Tennessee.
l3. At all times relevant, Defendant Candelario Castillo (“Castillo”) was and is a

citizen and resident of the State of Texas.
l4. The Defendant Spirit Truck Lines, lnc. (“Spirit”) is a domestic corporation
engaged in interstate commerce with a principal place of business located in San Juan, Texas.

This Defendant’s USDOT number is 437028. According to the Federal Motor Carrier Safety

2

Case 1:16-cv-00061 Document 1-1 Filed 07/29/16 Page 2 of 13 Page|D #: 6

Administration, Spirit may be served with a copy of the complaint and summons through its
registered agent, Raul C. Garza, President, Spirit Tmck Lines, Inc., P.O. Box 87, Sarz Juan,
Texas 78589-0087.
JURISDICTION AND VENUE

15. This is an action for serious personal injury resulting from a collision involving a
tractor trailer truck which occurred on Thursday, April 28, 2016, in Hicl<rnan County, Tennessee.
Jurisdiction and venue are proper in this Court.

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16. At all relevant times, Defendant Castillo was an employee of Spirit, was on or
about Spirits’ business, was acting within the scope and course of his employment with Spirit
and was acting with Spirits’ knowledge

17. Spirit is a transportation company which provides different services in the
transportation industry including moving commerce, freight and shipments through interstate
commerce Spirit is a motor carrier. Spirit’s business activities are governed by the Federal
Motor Carrier Safety Regulations.

18. At all times material, Spirit owned the subject tractor trailer.

19. On or around Thursday, April 28, 2016, Dorathea Rye, Santana Smith and Carl
Smotherrnan were working for the Tennessee Department of Transportation (“TDOT”).

20. Carl Smotherman and Dorathea Rye were occupants in a TDOT vehicle that was
parked legally inside the shoulder of 1-40 in Hickman County.

21. Santana Smith was an occupant in a TDOT vehicle that was parked legally inside
the shoulder of l-40 in Hickrnan County. Santana Smith was directly in front of the TDOT

vehicle occupied by Carl Smotherman and Dorathea Rye.

3

Case 1:16-cv-00061 Document 1-1 Filed 07/29/16 Page 3 of 13 Page|D #: 7

22. On the same date and at approximately the same time, Defendant Castillo was
traveling in the right-hand lane, with a trailer full of cargo, weighing in excess of 50,000 pounds,
traveling above the posted speed limit.

23. Upon information belief, and after investigation, witnesses traveling behind the
Spirit truck driven by Defendant Castillo saw him weaving across the lanes for several miles and
several minutes before he finally crossed the outside “fog line” and crashed violently into the
TDOT vehicles occupied by the Plaintiffs and their now deceased co-worker.

24. As Defendant Castillo was barreling down l-40, he failed to comply with
Tennessee Code Annotated §55-8-132, commonly known as “move over Tennessee,” when he
saw the stationary TDOT vehicles by continuing to travel in the right-hand lane when the lane
not adjacent to that of the TDOT vehicle was clear and available for travel.

25. Because Defendant Castillo was driving his tractor and trailer at an excessive
speed and failed to move over to the left-hand lane, he lost control of his truck and trailer and hit
the TDOT vehicle occupied by Carl Smotherman and Dorathea Rye and the TDOT vehicle
occupied by Santana Smith.

26. Because Defendant Castillo was driving his tractor and trailer at an excessive
speed and failed to move over to the left-hand lane, he lost control of his truck and trailer and hit
another TDOT employee that was outside of his truck, causing him to die upon impact

27. Dorathea Rye, Santana Smith and Carl Smotherman witnessed Defendant Castillo
slam into and kill their friend and coworker.

28. After being hit by Castillo, Santana Smith’s TDOT truck looked like this:

4

Case 1:16-cv-00061 Document 1-1 Filed 07/29/16 Page 4 of 13 Page|D #: 8

 

30. As a result of the crash, Dorathea Rye, Carl Smotherman and Santana Smith

sustained serious injuries.

Case 1:16-cv-00061 Document 1-1 Filed 07/29/16 Page 5 of 13 Page|D #: 9

31. As a result of the crash, Santana Smith was life-flighted to Vanderbilt University
Medical Center.

32. At the time of the crash, Defendant Castillo was operating the tractor trailer in
direct violation of applicable laws, ordinances and regulations of the State of Tennessee and the
Federal Motor Carrier Safety Act.

33. Defendant Castillo lost control of the truck.

34. Defendant Castillo was arrested as a result of the crash.

35. Defendant Castillo killed a TDOT employee as a result of the crash.

36. Defendant Castillo is one hundred percent (100%) at fault for the crash.

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COMMON LAW NEGLIGENCE OF DEFENDANT CASTILLO

37. The crash and the Plaintiffs’ injuries were proximately caused by one or more of
the following acts of negligence of Defendant Castillo:

A. Defendant Castillo failed to maintain proper control of the tractor trailer

on an interstate highway;

B. Defendant Castillo negligently operated the tractor trailer;

C. Defendant Castillo drove too fast for the elements there and then existing;
D. Defendant Castillo failed to move over to the left-hand lane;

E. Defendant Castillo failed to proceed with due caution;

F. Defendant Castillo failed to reduce his speed;
G. Defendant Castillo failed to properly steer the vehicle so as to keep in the

vehicle on the paved roadway;

6

Case 1:16-cv-00061 Document 1-1 Filed 07/29/16 Page 6 of 13 Page|D #: 10

I-I. At the time of the crash, Defendant Castillo failed to exercise due care
while operating the tractor trailer;
l. At the time of the crash, Defendant Castillo failed to keep the tractor

trailer under control and crashed into the Plaintiffs.

STATUTORY NEGLIGENCE OF DEFENDANT CASTILLO

38. At all times material hereto, Defendant Castillo had a duty and responsibility to
operate the tractor safely, in compliance with applicable statutes, rules and regulations of the
State of Tennessee and the Federal Motor Carrier Safety Act, 49 U.S.C. §§ 31101, 31301, 31501
eli Seq.

39. Concurrent with the common law negligence set forth in paragraph 25 above, the
crash and Plaintiffs’ injuries were proximately and in fact caused by Defendant Castillo’s
violation of one or more of the following statutes which constitutes negligence per se:

A. Defendant Castillo violated the provisions of Tennessee Code Annotated §55-8-

123 (1) which requires the driver of a motor vehicle to maintain the vehicle in a
single lane of traffic.

B. Defendant Castillo violated the provisions of Tennessee Code Annotated §55-8-

132 Which requires a driver to yield the right-of-way by making a lane change
into a lane not adjacent to that of an stationary authorized emergency vehicle.

C. Defendant Castillo violated the provision of Tennessee Code Annotated §55-8-

132 which requires a driver to proceed with due caution, reduce the speed of the
vehicle and maintaining a safe speed for road conditions if changing lanes would

be impossible or unsafe.

7

Case 1:16-cv-00061 Document 1-1 Filed 07/29/16 Page 7 of 13 Page|D #: 11

D. Defendant Castillo violated 49 CFR § 390.3 et seq. which requires that all drivers
be knowledgeable and comply with the Federal l\/lotor Carrier Safety Regulations.
E. Defendant Castillo violated 49 CFR § 395.1 et seq. by failing to comply with the
hours of service (HOS) rules and completing and maintaining more than one (1)
log book for HOS;
F. The duties and responsibilities imposed on Defendant Castillo by Federal Motor
Carrier Safety Regulations, including but not limited to 49 C.F.R §§ 392.2 and
392.14, by failing to drive the tractor trailer in accordance with applicable laws,
ordinances, and regulations of the State of Tennessee; by failing to observe the
duties and responsibilities placed upon him by such Federal l\/lotor Carrier Safety
Regulations; and by failing to operate the tractor trailer in a safe manner and at an
appropriate speed given the circumstances
VICARIOUS LIABILITY
40. At all relevant times, Defendant Castillo was an employee, agent, representative
and/or servant of Spirit and was engaged in the course and scope of the employment or agency
(real, apparent or ostensible) so that Spirit is responsible for or vicariously liable for the
negligent acts or omissions of Defendant Castillo.
STRICT LIABILITY
41. Pursuant to 49 CFR § 383.5, Spirit is the statutory employer of Defendant Castillo

and is liable for his negligent acts or omissions

8

Case 1:16-cv-00061 Document 1-1 Filed 07/29/16 Page 8 of 13 Page|D #: 12

COMMON LAW NEGLIGENCE OF DEFENDANT SPIRIT
42. Upon information and belief and to the extent proved in discovery, the collision

and Plaintiffs’ injuries were proximately and in fact caused by one or more of the following acts
of negligence of Spirit:

A. Spirit negligently hired Mr. Castillo.

B. Spirit failed to properly train l\/Ir. Castillo.

C. Spirit failed to adequately supervise l\/lr. Castillo.

D. Spirit encouraged and/or acquiesced in unsafe driving practices

which proximately caused the accident complained of herein

E. Spirit negligently entrusted Defendant Castillo with operation of
their tractor trailer.
F. Spirit is guilty of negligence because it negligently, carelessly

and/or recklessly failed in its duty to require Defendant Castillo’s
observance of all duties and prohibitions placed upon him as a

driver of the tractor trailer.

STATUTORY NEGLIGENCE OF DEFENDANT SPIRIT
43. Upon information and to the extent proved in discovery concurrent with the
common law negligence set forth in paragraph 32 above, the collision and Plaintiffs’ injuries
were proximately caused by Spirit’s violation of one or more of the following statutes which
constitutes negligence per se.'
A. Spirit violated 49 CFR § 380.507 which requires an employer to provide

driver training as outlined in 49 CFR § 380.503.

9

Case 1:16-cv-00061 Document 1-1 Filed 07/29/16 Page 9 of 13 Page|D #: 13

Spirit violated 49 CFR § 390.3 et seq. which requires that all motor
carriers, their employees and drivers to be knowledgeable of, and comply
with, the Federal l\/iotor Carrier Safety Regulations.

Spirit violated 49 CFR § 390.11 which proscribes a duty on the motor
carrier to require observance of all duties and prohibitions placed on their
drivers.

Spirit violated 49 CFR § 385.5 which requires the carrier to demonstrate
that it has adequate safety management controls in place to ensure
compliance with the Federal l\/[otor Carrier Safety Regulations.

Spirit violated 49 CFR § 391.11 which places an affirmative duty on the
carrier to determine if the driver is qualified to drive under the Federal

Motor Carrier Safety Regulations.

HARMS ANI) LOSSES OF DORATHEA RYE, SANTANA SMITH AND CARL

SMOTHERMAN

44. As a direct and proximate result of Defendants’ negligence and or recklessness,

the Plaintiffs suffered the following harms and losses:

A.

B.

F.

G.

Serious, painful and disabling injuries;

Past and future pain and suffering;

Past and future mental anguish',

Past and future loss of enjoyment of life',

Current and future medical and other related expenses;
Lost wages and lost earnings; and

Perrnanent lnjury.

45. The Plaintiff, Rickey Rye, brings a claim for loss of consortium.

10

Case 1:16-cv-00061 Document 1-1 Filed 07/29/16 Page 10 of 13 Page|D #: 14

WHEREFORE, PREMISES C()NSIDERED, THE PLAINTIFFS DEMAND:

1. That this complaint be served upon the Defendants, requiring them answer within
the time prescribed by law;

2. That a jury of twelve (12) try this cause;

3. That judgement enter in favor of Plaintiff, Dorathea Rye, and against the
defendants, jointly and separately, and each of them, for compensatory damages in the amount
not less than $1,000,000.()0 or in an amount determined by the jury acting in its sole providence
as the judges of the fact, to compensate her for all of her harms and losses caused by the
negligence and recklessness of the defendants;

4. That judgement enter in favor of Plaintiff, Dorathea Rye, and against the
defendants, jointly and separately, and each of them, for punitive damages in the amount not less
than $5,000,000.00 or in an amount determined by the jury acting in its sole providence as the
judges of the fact, to punish this outrageous conduct and deter others in the community from
endangering our hard-working Tennessee families in a similar manner;

5. That judgment enter in favor of Plaintiff, Rickey Rye, and against the defendants,
jointly and separately, and each of them, for compensatory damages in the amount not less than
$500,000.()0 or in an amount determined by the jury acting in its sole providence as the judges of
the fact, to compensate him for all of his harms and losses caused by the negligence and
recklessness of the defendants;

6. That judgement enter in favor of Plaintiff, Rickey Rye, and against the
defendants, jointly and separately, and each of them, for punitive damages in the amount not less

than $1,000,000.00 or in an amount determined by the jury acting in its sole providence as the

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Case 1:16-cv-00061 Document1-1 Filed 07/29/16 Page 11 of 13 Page|D #: 15

judges of the fact, to punish this outrageous conduct and deter others in the community from
endangering our hard-working Tennessee families in a similar manner

7. That judgement enter in favor of Plaintiff, Santana Smith, and against the
defendants, jointly and separately, and each of them, for compensatory damages in the amount
not less than $1,000,000.00 or in an amount determined by the jury acting in its sole providence
as the judges of the fact, to compensate him for all of his harms and losses caused by the
negligence and recklessness of the defendants;

8. That judgement enter in favor of Plaintiff, Santana Smith, and against the
defendants, jointly and separately, and each of them, for punitive damages in the amount not less
than $5,000,000.00 or in an amount determined by the jury acting in its sole providence as the
judges of the fact, to punish this outrageous conduct and deter others in the community from
endangering our hard-working Tennessee families in a similar manner;

9. That judgement enter in favor of Plaintiff, Carl Smotherrnan, and against the
defendants, jointly and separately, and each of them, for compensatory damages in the amount
not less than 31,000,000.00 or in an amount determined by the jury acting in its sole providence
as the judges of the fact, to compensate him for all of his harms and losses caused by the
negligence and recklessness of the defendants',

10. That judgement enter in favor of Plaintiff, Carl Smotherman, and against the
defendants, jointly and separately, and each of them, for punitive damages in the amount not less
than $5,00(),000.00 or in an amount determined by the jury acting in its sole providence as the
judges of the fact, to punish this outrageous conduct and deter others in the community from

endangering our hard-working Tennessee families in a similar manner;

12

Case 1:16-cv-00061 Document1-1 Filed 07/29/16 Page 12 of 13 Page|D #: 16

11. That Plaintiffs be awarded all further and general relief to which they may be
entitled, including pre-judgment interest on their judgement, discretionary costs, court costs and
other expenses as allowed by law.

12. That the cost of this action be taxed to the Defendants.

Respectfully submitted,

ROCKY McELHANEY LAW FlRM, PC

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13

Case 1:16-cv-00061 Document1-1 Filed 07/29/16 Page 13 of 13 Page|D #: 17

